 Case 5:19-cv-00109-LGW-BWC Document 163 Filed 04/19/22 Page 1 of 1




                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF GEORGIA
                               WAYCROSS DIVISION


 BRANTLEY COUNTY DEVELOPMENT
 PARTNERS, LLC,

                Plaintiff,                                  CIVIL ACTION NO.: 5:19-cv-109

     v.
 BRANTLEY COUNTY, GEORGIA, et al.,

                Defendants.


                                            ORDER

       This matter comes before the Court following the parties’ April 12, 2022 telephonic

status conference. Doc. 162. The parties discussed the status of discovery, as well as any

anticipated motions they intend to file. In consideration of the parties’ representations at the

status conference, Plaintiff is directed to serve any supplemental or amended disclosures on or

before May 3, 2022, and Defendants must file any desired motion for summary judgment on or

before June 1, 2022.

       SO ORDERED, this 19th day of April, 2022.




                                      ____________________________________
                                      BENJAMIN W. CHEESBRO
                                      UNITED STATES MAGISTRATE JUDGE
                                      SOUTHERN DISTRICT OF GEORGIA
